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 1    DANIEL G. BOGDEN
      United States Attorney
 2    ADAM M. FLAKE
      Assistant United States Attorney
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 4    Las Vegas, Nevada 89101
      (702) 388-6336
 5

 6                      UNITED STATES DISTRICT COURT
 7                           DISTRICT OF NEVADA
 8                                   -oOo-
 9    UNITED STATES OF AMERICA,                      )
                                                     ) 2:07-cr-132-PMP-RJJ
10                           Plaintiff,              )
                                                     )
11           vs.                                     ) GOVERNMENT’S MOTION
                                                     ) FOR CONTINUANCE
12    KATHY NELSON,                                  )
                                                     )
13                           Defendant.              )
                                                     )
14

15            COMES NOW, the United States of America by and through its attorneys, DANIEL G.

16    BOGDEN, United States Attorney, and ADAM FLAKE, Assistant United States Attorney, and

17    respectfully requests this court enter an order resetting the Government’s deadline to respond to

18    Defendant’s 28 U.S.C. § 2255 motion to 30 days after Defendant’s former counsel, Karen Winkler,

19    provides the information requested in the Government’s motion to waive the attorney-client privilege.

20    The Government’s response is currently due on September 20, 2010.1

21            This order is sought for the following reasons:

22            1. Defendant has filed a 28 U.S.C. § 2255 motion to vacate, set aside or correct sentence by

23    a person in federal custody, alleging ineffective assistance of counsel.

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26      The Government previously sought to extend the deadline to respond to Defendant’s 28
       U.S.C. § 2255 motion, see CR 95, but the Court has not addressed that motion. This motion
       to reset the deadline until 30 days after Winkler provides the information requested makes
       CR 95 moot.
     Case
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 1            2. Information from Defendant’s former counsel, Karen C. Winkler, is necessary in order to

 2    respond to Defendant’s allegations.

 3            3. The Government has filed a separate motion to waive the attorney-client privilege between

 4    Defendant and former counsel, Karen Winker, whom Defendant alleges gave ineffective assistance.

 5    The Government needs the information requested from Winker before it can respond to Defendant’s

 6    28 U.S.C. § 2255 motion.

 7            WHEREFORE, based on the foregoing, it is respectfully requested that this Court reset the

 8    Government’s deadline for responding to Defendant’s 28 U.S.C. § 2255 motion to 30 days after

 9    Winkler provides the information requested in the motion to waive the attorney-client privilege.

10            DATED this 16th day of September, 2010.

11                                                    Respectfully submitted,

12
                                                      DANIEL G. BOGDEN
13                                                    United States Attorney

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15                                                           /s/ Adam M. Flake
                                                      ADAM FLAKE
16                                                    Assistant United States Attorney

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 1                     UNITED STATES DISTRICT COURT
 2                          DISTRICT OF NEVADA
 3                                  -oOo-
 4    UNITED STATES OF AMERICA,                    )
                                                   ) No. 2:07-cr-132-PMP-RJJ
 5                          Plaintiff,             )
                                                   )
 6           vs.                                   )
                                                   ) ORDER STAYING GOVERNMENT’S
 7                                                 ) DEADLINE TO RESPOND TO
      KATHY NELSON,                                ) DEFENDANT’S 28 U.S.C. § 2255 MOTION
 8                          Defendant.             )
                                                   )
 9
             Based on the pending application of the Government, and good cause appearing,
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             IT IS THEREFORE ORDERED that the that the Government’s deadline for responding to
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      Defendant’s 28 U.S.C. § 2255 motion is stayed until 30 days from the date Karen Winkler provides
12
      the information requested in the Government’s motion to waive the attorney-client privilege.
13
                         19th day
             DATED this _____ dayofof October, 2010.        , 2010.
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                                                    ________________________________
16                                                  UNITED STATES DISTRICT JUDGE

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     Case
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 1                                      CERTIFICATE OF SERVICE

 2           I hereby certify that on September 16, 2010, I electronically filed the foregoing

 3    GOVERNMENT’S MOTION FOR CONTINUANCE with the Clerk of the Court for the United

 4    States Court of Appeals for the Ninth Circuit by using the appellate CM/ECF system.

 5           Participants in the case who are registered CM/ECF users will be served by the appellate

 6    CM/ECF system. I further certify that some of the participants in the case are not registered CM/ECF

 7    users. I have mailed the foregoing document by First-Class Mail, postage prepaid, to the following:

 8    Kathy Nelson
      355109
 9    2322 N. Las Vegas Boulevard
      Suite 200
10    North Las Vegas, NV 89030

11    Karen C. Winkler
      300 S. Fourth Street, Ste. 701
12    Las Vegas, NV 89101

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15                                                    /s/ Terrie Murray
                                                    TERRIE MURRAY
16                                                  Legal Assistant

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